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                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 UNITED STATES OF AMERICA,


           Plaintiff,                               MEMORANDUM DECISION AND
                                                    ORDER GRANTING DEFENDANTS’
                                                    MOTION TO CONTINUE AND
                                                    MOTIONS FOR JOINDER


                   vs.


 FRANK SILOUANGKHOTH, et al.                            Case No. 2:10-CR-821 TS
           Defendants.




       On October 14, 2011, Defendant Frank Silouangkhoth filed a Stipulated Motion to

Continue the Trial Date in the present action.1 On October 18th, Defendants Jason Michael

Grant,2 Dante Rodriguez,3 and Bryan Steven Stair4 each filed a Motion for Joinder with respect to

Silouangkhoth’s Motion to Continue.



       1
           Docket No. 170.
       2
           Docket No. 171.
       3
           Docket No. 172.
       4
           Docket No. 173.

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       For the reasons set forth in Defendant’s Motion, the Court finds that this case is complex

due to the number of individuals involved and who will now be testifying on behalf of the

Government and the need to provide those statements to the defendant and it is not possible to

adequately prepare for pretrial and trial proceedings within the time remaining within

calculations under the Speedy Trial Act. Based upon the defendant’s motion to continue the trial

date and the Government agreeing to the continuance, the Court hereby finds that it is necessary

that the final pretrial conference and the trial should be continued and the time excluded under

the Speedy Trial Act until the rescheduled trial date. Accordingly, pursuant to 18 U.S.C. §§

3161(h)(7)(A) and (h)(7)(B)(ii), the Court also finds that the ends of justice are served by

excluding this period of time from the time within which the trial must commence, and taking

such action outweighs the best interest of the public and the defendant in a speedy trial.

       It is therefore

       ORDERED that Defendants’ Motion to Continue (Docket No. 170) and Motions for

Joinder (Docket Nos. 170-173) are GRANTED. It is further

       ORDERED that, as to Defendants Frank Silouangkhoth, Jason Michael Grant, Dante

Rodriguez, and Bryan Steven Stair, trial be continued until December 12, 2011. It is further

       ORDERED that the time between October 31, 2011, and the new trial date of

December 12, 2011, shall be tolled from the Speedy Trial Act calculation.




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DATED October 21, 2011.

                                   BY THE COURT:



                                   _____________________________________
                                   TED STEWART
                                   United States District Judge




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